                         2:15-cr-20057-JES-JEH # 213-6 Page 1 of 6
                             Discussion regarding potential internal
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                             DOJ investigations; paralegal work            Clerk, U.S. District Court, ILCD
                             product on pending litigation; references
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    Lisa Hopps
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